          Case 2:12-cr-00021-JLR          Document 133        Filed 02/01/12      Page 1 of 2




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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. MJ12-28
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   MANUEL MEJIA-GARAY
12   a/k/a Manolo,

13                                 Defendant.

14
     Offense charged:
15
            Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1),
16
            841(b)(1)(A), 841(b)(1)(B) and 846
17
     Date of Detention Hearing: February 1, 2012
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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                    defendant is a flight risk and a danger to the community based on the nature of
23
                    the pending charges. Application of the presumption is appropriate in this case.
24
            2.      Defendant is a citizen of Mexico.
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            3.      An immigration detainer has been placed on defendant by the United States
26
                    Immigration and Customs Enforcement.

     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:12-cr-00021-JLR        Document 133        Filed 02/01/12      Page 2 of 2




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           4.    Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           5.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
12
                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
20
           DATED this 1st day of February, 2012.


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                                                JAMES P. DONOHUE
23                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
